                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )       NO. 3:13-00069
                                                    )       JUDGE CAMPBELL
LUIS REYNALDO PARRA FLORES, et al.                  )

                                             ORDER

         Pending before the Court is an Unopposed Motion to Set Change of Plea Hearing (Docket

No. 60). The Motion is GRANTED.

         The Court will hold a change of plea hearing for Defendant Luis Reynaldo Parra Flores on

July 1, 2013, at 3:00 p.m. Any proposed plea agreement shall be submitted to the Court by June 27,

2013.

         It is so ORDERED.

                                                    ____________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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